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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


HENRY WASHINGTON,

                  Plaintiff,

v.                                            CASE NO. 4:16cv592-RH/CAS

JULIE JONES, etc., et al.,

                  Defendants.

______________________________/


                             ORDER GRANTING LEAVE TO
                            DEPOSE A WITNESS IN CUSTODY


         Under Federal Rule of Civil Procedure 30(a)(2)(B), a person who is in

custody may be deposed only with leave of court. The defendants have moved for

leave to depose the plaintiff, Henry Washington. The record indicates that Mr.

Washington is in custody at the Suwannee Correctional Institution in Live Oak,

Florida. I find that taking this deposition will be consistent with Federal Rule of

Civil Procedure 26(b)(1).

         IT IS ORDERED:

         1. The consented motion, ECF No. 30, for leave to depose Mr. Washington

is granted.



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         2. The deposition must take place at a time and under conditions acceptable

to officials of the facility where Mr. Washington is in custody.

         SO ORDERED on May 7, 2017.

                                        s/Robert L. Hinkle
                                        United States District Judge




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